
35 U.S. 260 (____)
10 Pet. 260
*JOSEPH A. WHERRY AND OTHERS, HEIRS OF MACKEY WHERRY, DECEASED, APPELLANTS,
v.
THE UNITED STATES, APPELLEES.
Supreme Court of United States.

It was argued by Mr. White, for the appellants; and by Mr. Butler, attorney-general, for the United States.
Mr. Justice BALDWIN delivered the opinion of the court.
This is an appeal from the decree of the district court of Missouri, rejecting the claim of the appellants to sixteen hundred arpents of land in that state, for the confirmation of which they had filed their petition, pursuant to the provisions of the act of 1824, for the adjustment of land claims in that state.
The petition was in the form prescribed by law; presenting a proper case for the jurisdiction of the court.
The claim of the petitioners was founded on an application by Mackey Wherry to the lieutenant-governor of Upper Louisiana, on the 15th of April, 1802, for a grant of sixteen hundred arpents of land near the rivers Dardennes and Mississippi, in the vacant lands of the king, which he shall point out at the time of the survey. On the 18th of the same month this application was granted by the lieutenant-governor, with directions to survey the quantity demanded in a vacant place of the royal domain; but no survey appears to have been made before the 10th of March, 1804.
As this grant contained no description of the lands granted, and was not located before the time prescribed by the act of 1824, *339] *submitting these cases to judicial cognisance; it comes directly within the point decided by this court in the case of John Smith, T., v. The United States, at this term, and cannot be confirmed. It is therefore our opinion that the title of the petitioners to the land claimed and described in their petition is not valid.
The decree of the district court is affirmed.
This cause came on to be heard on the transcript of the record from the district court of the United States for the district of Missouri, and was argued by counsel; on consideration whereof, it is ordered, adjudged and decreed by this court, that the decree of the said district court in this cause be, and the same is hereby affirmed.
